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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA            :              CRIMINAL ACTION
                                    :
          v.                        :
                                    :
KENNETH EUGENE CHERRY, JR.          :              NO. 19–122-1

                                 ORDER


          AND NOW this 10th day of November, 2021, for the

reasons set forth in the foregoing Memorandum, it is hereby

ORDERED that the Emergency Motion Requesting Home Confinement

and/or a Reduction in Sentence Pursuant to the First Step Act

(Doc. # 170) of defendant Kenneth Eugene Cherry, Jr. is DENIED.




                                         BY THE COURT:




                                         /s/ Harvey Bartle III
                                                                      J.
